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  1                     IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
  2                              EASTERN DIVISION

  3
      MELANIE HOEG, ANGELA DAVIS,              )
  4   MELINDA GARCIA, and 1,025                )
      Other Individuals,                       )
  5                                            )
                            Petitioners,       )
  6                                            )   No. 23 C 1951
                      vs.                      )   Chicago, Illinois
  7                                            )   March 7, 2024
      SAMSUNG ELECTRONICS AMERICA,             )   9:30 a.m.
  8   INC. and SAMSUNG ELECTRONICS             )
      CO., LTD., d/b/a Samsung                 )
  9   Electronics America, Inc.,               )
                                               )
 10                         Respondents.       )

 11                     TRANSCRIPT OF PROCEEDINGS - MOTION

 12                BEFORE THE HONORABLE HARRY D. LEINENWEBER

 13   APPEARANCES:

 14   For the Petitioners:               ROBBINS GELLER RUDMAN & DOWD, LLP
                                         225 NE Mizner Boulevard
 15                                      Suite 720
                                         Boca Raton, Florida 33432
 16                                      BY: MR. ALEXANDER C. COHEN

 17                                      MILBERG COLEMAN BRYSON PHILLIPS
                                         GROSSMAN, PLLC
 18                                      5528 Shadow Crest Street
                                         Houston, Texas 77096
 19                                      BY: MR. ALEXANDER E. WOLF

 20   For the Respondents:               SKADDEN, ARPS, SLATE, MEAGHER &
                                         FLOM LLP
 21                                      One Manhattan West
                                         New York, New York 10001
 22                                      BY: MR. MICHAEL W. MC TIGUE
                                              MR. SHAY DVORETZKY
 23
      Official Court Reporter:           JENNIFER COSTALES, CRR, RMR, CRC
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             1         (Proceedings via teleconference)

             2               THE COURTROOM DEPUTY:        23 C 1951, Hoeg versus

             3   Samsung.

             4               MR. WOLF:     Good morning.      This is Alexander Wolf for

09:31:57     5   the petitioners.

             6               MR. COHEN:     Alexander Cohen from Robbins Geller

             7   Rudman & Dowd for petitioners as well.

             8               THE COURT:     My understanding is that the Seventh

             9   Circuit had granted a stay, is that correct?

09:32:17    10               MR. WOLF:     No, Your Honor.      This is Alexander Wolf

            11   for the petitioners.        The Seventh Circuit issued an order

            12   temporarily staying the district court's order pending

            13   resolution of the motion to stay before the Seventh Circuit.

            14               THE COURT:     So is this motion moot?

09:32:38    15               MR. WOLF:     In petitioner's view, yes, it is.              But I

            16   would defer to my colleagues on the other side.

            17               MR. MC TIGUE:      Your Honor, this is Michael --

            18               THE COURT:     All right.     Excuse me.     I don't have in

            19   front of me, but I got a notice from the court of the Seventh

09:33:10    20   Circuit that they've granted the stay.             Did I read that

            21   correctly?

            22               MR. MC TIGUE:      Your Honor, this is Michael McTigue

            23   with Skadden Arps for Samsung.           I'm with my colleague, Shay

            24   Dvoretzky, who is also representing Samsung.              And he has

09:33:17    25   submitted a pro hac motion before Your Honor, which you
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             1   granted in the companion Wallrich case.             It has not yet been

             2   granted yet.      I'd like to clean that up first so he may be

             3   able to speak.

             4               THE COURT:     What is the position of the plaintiff?

09:33:39     5               MR. WOLF:     The plaintiffs' position, Your Honor, is

             6   that the motion before the district court is indeed moot

             7   because there is a parallel motion pending before the Seventh

             8   Circuit, and the Seventh Circuit issued an order staying the

             9   district court's order until the Seventh Circuit rules on the

09:33:56    10   motion to stay before the appellate court.              So the position --

            11               THE COURT:     That's what I read the Samsung motion

            12   that's up this morning.         So I will just find the motion moot

            13   and deny it as moot.        Thank you.

            14               MR. WOLF:     Thank you.

            15         (Proceedings concluded)

            16                             C E R T I F I C A T E

            17            I, Jennifer S. Costales, do hereby certify that the
                 foregoing is a complete, true, and accurate transcript of the
            18   proceedings had in the above-entitled case before the
                 Honorable HARRY D. LEINENWEBER, one of the judges of said
            19   Court, at Chicago, Illinois, on March 7, 2024.

            20
                                             /s/ Jennifer Costales, CRR, RMR, CRC
            21                               Official Court Reporter
                                             United States District Court
            22                               Northern District of Illinois
                                             Eastern Division
            23

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